Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 1 of 38




                              EXHIBIT 7
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 2 of 38




                       JIANGMEN BENLIDA PRINTED CIRCUIT CO., LTD

                                              v.

                                     CIRCUTRONIX, LLC



                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRCT OF FLORIDA

                            Civil Action No 21-60125-Civ-Scola/Snow

                               PLAINTIFF’S RESPONSE REPORT




    July 8, 2023




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Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 3 of 38
                               JIANGMEN BENLIDA PRINTED CIRCUIT CO., LTD
                                                  v.
                                          CIRCUTRONIX, LLC


                                                 Table of Contents

                                                                                        Tab
           Independent Forensic Accountants’ Report Letter                               A

           Assumptions and Limiting Conditions                                           B

           Sources of Information Relied Upon                                            C

           Curriculum Vitae-
                   Randall M. Paulikens, CPA/ABV/CFF/CITP                                D


           Exhibits

           Excerpts “2012-2019 reconciliation analysis – 2019.11.15 CCT”             Exhibit -1

           Excerpts “Benlida Payment Details CTX-US 2012-2021 v5”                    Exhibit - 2

           Excerpts “Benlida Shipment and Payment Details CTX-HK 2012-2019”          Exhibit - 3

           Excerpts “Benlida Payment Details CTX-HK 2015-2019_v2.1”                  Exhibit - 4

           Excerpts “Benlida Payment Details CTX-US 2012-2021_v5 (up to 2019 only”   Exhibit -5

           Excerpts “Benlida Payment Details CTX-US 2015-2019_v2.1”                  Exhibit - 6
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 4 of 38




                                                    Tab - A
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 5 of 38




    July 7, 2023

    Transmitted Via Email

    Jean Claude Mazzola, Esq.
    Richard Lerner, Esq.
    Mazzola Lindstrom, LLP
    1350 Avenue of the Americas, Second Floor
    New York, NY 10019

    Re:     Jiangmen Benlida Printed Circuit Co, Ltd et al (“Plaintiff”) v Circuitronix, LLC, et al.
            (“Defendant”)


    Dear Counselors:

    You have engaged A. J. Santye & Co. P.A. (“Santye”) as an expert in the above matter. As part of our
    retention, we have prepared this response report to the expert report prepared by Barry Mukamal,
    CPA/PFS/ABV/CFE/CFF/CIRA/CGMA and Mark Parisi, CPA/CFE/CIRA/CTCE. Until January 31,
    2023, both were employed at Kapila/Mukamal CPAs, (”KM”). Mr. Parisi has since become employed
    by Citrin Cooperman. For purposes of identification, we will refer to the report as the “KM Report”
    and the individual authors by their last names (Mukamal and Parisi, respectively).


    As we will discuss in the following pages, it is not what is in the KM Report that should be instructive
    to the trier of fact – it is what is not in the KM Report that actually informs the reader of the order of
    magnitude of the amount being sought by the Plaintiff Benlida and why.




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Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 6 of 38
    Jean Claude Mazzola, Esq.
    Richard Lerner, Esq.

    The limitations of the KM report are properly spelled out on page 3 of the KM Report. In short, the
    KM Report simply reconciled the claims of the litigants based solely on reconciliations provided by
    CTX and Benlida. The KM Report also “examined and summarized calculations prepared by CTX
    with respect to lead time penalties owed from Benlida”.1

    Further, the KM Report emphasized that it did not perform any other analysis of the underlying claims.
    “We relied on the records of CTX as produced, the CTX Recon, and the Belinda Recon, and did not
    perform any additional procedures to provide assurance as to their reliability beyond the procedures
    enumerated herein.” Buried in footnote 4 on page 3 and again in footnote 14 on page 7 are the only
    references that there may be more to the issues between the litigants.


    The KM Report contains 25 pages including the cover page, table of contents and 10 pages of the
    preparers’ CVs and testimony experience. The majority of pages 4 and 5 contain a summary of the
    same information contained in the 10 pages of the CVs of the two preparers. In short, out of the entire
    25 pages, less than half (11 pages) contain their analysis and findings. None of their calculations were
    attached to enable us to validate KM’s work. We have attached excerpts of the files in the exhibits
    section of this report to provide a reference to the tables included in this response.


    We reprint a copy of the penultimate conclusion from page 14 of the KM Report.
               Table 7: Summary of Payable Reconciliation between CTX and Benlida
                                                                                                  Difference
                                                                               Difference per     With Math
                                                 Per CTX          Per Benlida    KM Report        Correction
               Reconciliation Period Through July 2019
               Payments       Table 2             $ 67,623,456 $ 67,636,070          (12,614) $        (12,614)
               Invoices       Table 3                (65,176,316)   (65,839,234)     662,918           662,918
               Debit Memos Table 5                     2,313,707       1,843,314      97,264           470,393
                                                  $    4,760,847 $ 3,640,150 $       747,568 $       1,120,697

               Lead Time Penalties after January 2016
               Lead Time PenaTable 6                  3,107,778 N/A

               Owed by Benlida to CTX           $    7,868,625


    There is an unexplained math error on the Debit Memo line that we cannot trace.




    1
     KM Report page 3, paragraph one.
    Page 2 of 15                                                                                A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 7 of 38
    Jean Claude Mazzola, Esq.
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    As mentioned previously, we take issue not as much with what is included in the KM Report but what
    is not included in the KM Report. Broadly speaking, Benlida and Circuitronix have been doing business
    together since 2012 and as I understand from attending portions of a hearing in Miami on Friday
    January 13, 2023, the key members of the litigants have a long relationship outside of business as
    neither side denied a level of familiarity.


    This fact, as well as the actions of all sides, needs to be considered to fully understand the economic
    relationship between the parties and where the state of the ultimate economic relationship lies.


    The Dispute


    The dispute between the parties is over payments and compensation the Plaintiff is claiming it is
    owed by the Defendant pursuant to a multi-year contract and relationship where the Plaintiff
    manufactures various printed circuit boards for the Defendant. The Defendant is claiming that
    there are offsets to the amounts being owed due to contractually mandated penalties for delivery
    delays and other quality issues. Neither KM nor A.J. Santye & Co. were engaged to opine on the
    validity or the appropriateness of those offsets.


    We have been provided with KM’s “documents relied upon” as referenced in KM’s Report as well
    as emails and other information as both sides attempted to reconcile the amounts owed and come
    to a resolution outside of litigation2. Understanding that settlement talks are not subject to
    discovery, the business records exchanged are subject to discovery to our understanding as
    accountants. By way of illustration, detailed lists of invoices and payments that were exchanged
    as part of the reconciliation process are business records. Those records provide useful insight as
    to the payment status of the business transactions between the parties.


    It is clear from the litigants’ multiple communications and exchanges of information that neither
    side maintained a set of records that agreed to the other. In each round of information exchange,
    invoices and payments that were not listed on one side’s books were communicated to the other.



    2
     Our list of “Information Relied Upon” relied upon is included at Tab C
    Page 3 of 15                                                                  A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 8 of 38
    Jean Claude Mazzola, Esq.
    Richard Lerner, Esq.

    In general, the new information was accepted by the other side as the parties attempted to
    determine the actual amounts due.


    As a result of the confusing production of information, it is difficult for either side to “know”
    which source is the final word. (Since the KM Report did not produce any information or analysis
    with regard to CTX-HK or ROK, the KM Report is not a source as to the entire economic picture
    either.) Further, given the size of the litigants and the fact that they routinely transact business on
    multiple continents, whether directly or indirectly, it is difficult to appreciate why there was so
    much information missing from each other’s records.


    The significant disparity in information, and the implication that, any one source is better is, best
    illustrated by an email from Rishi Kukreja on November 11, 2012 at 10:28 PM. That email claims
    that CTX-US overpaid Benlida by $5,314,868 and that CTX-HK overpaid by $2,179,988.74. (As
    we will show information from KM and others show that CTX-HK owes about $13 million. We
    understand that it is Benlida’s position that CTX-US is responsible for orders placed by CTX-HK,
    and that it is CTX-US’s position that it is not responsible for orders placed by CTX-HK, but that
    is beyond the purview of an accountant). In response to that email, an analysis was created by the
    Benlida accounting department. That analysis was communicated in an Excel file “2012-2019
    reconciliation analysis-2019.11.15CCT”. According to the file creation information contained in
    the Excel workbook, that file was first created November 3, 2019. The dating of November 15,
    2019 suggests the work was completed and communicated at approximately the same date. The
    file contained approximately 33 pages of information comparing various sources of information
    between the litigants. Many of the largest discrepancies were from the earlier years of the
    relationships. We have reprinted this analysis at Exhibit 13. The summary page in reprinted below:




    3
      Note that the name of the file was modified to show “working copy July 2023” since a certain amount of
    reformatting the pages was necessary to allow them to be included in this report.
    Page 4 of 15                                                                           A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 9 of 38
    Jean Claude Mazzola, Esq.
    Richard Lerner, Esq.

                                                        Reconciliation analysis report 2012‐2019
                                                                                                                                    币种：美元
                                      Transactions between BLD and Circuitronix US                                     Transactions between ROK and Circuitronix US/HK
                                                                                                                                          Payment                          Discount
                          CTX           inv. Discrepancy     Payment Discrepancy     DM records       CTX         inv. Discrepancy                       DM records
         Year                                                                                                                           Discrepancy                      Discrepancy
                       missing inv.        (BLD‐CTX)             (CTX‐BLD）           Discrepancy   missing inv.      (ROK‐CTX)                           Discrepancy
                                                                                                                                        (CTX‐ROK）                         (CTX‐ROK)
         2012           13,716.50          (4,864.51)                                 4,460.27                        8,536.08          (46,723.30)      27,486.09
         2013           90,699.84         (84,538.65)                                 75,202.21     1,973.37             0.00            27,105.00       711,435.59          63,478.46
         2014          139,828.91         (38,579.02)            1,853,799.47        213,364.36    117,356.58       (145,948.56)         60,000.00       391,189.77
         2015                             246,302.49              231,126.05          33,337.40    19,436.95        110,056.82                           179,866.33
         2016                             159,929.31                                 116,743.74      478.80         313,882.77                            31,756.74
         2017                             116,453.22             385,000.00           37,041.10                     124,089.05          142,000.00        23,778.12
         2018                              24,230.02                                  6,681.01                         853.75           200,000.00         5,889.20
    2019.01‐2019.07                           0.00                100,000.00           108.64                            0.00
         合计            244,245.25         418,932.86             2,569,925.52        486,938.73    139,245.70       411,469.91          382,381.70      1,371,401.84         63,478.46




    The KM Report did not include the details of their analysis in their report; rather, they included
    summaries within the body of their report. As a result, we are unable to recreate the KM Report’s
    results and are not in a position to fully agree or disagree with portions of their findings. We reprint
    the penultimate conclusion from the KM Report from page 3 below:
                      Table 7: Summary of Payable Reconciliation between CTX and Benlida
                                                                                                                                                    Difference
                                                                                                                        Difference per              With Math
                                                        Per CTX          Per Benlida                                      KM Report                 Correction
                      Reconciliation Period Through July 2019
                      Payments       Table 2             $ 67,623,456 $ 67,636,070                                                (12,614) $               (12,614)
                      Invoices       Table 3                (65,176,316)   (65,839,234)                                           662,918                  662,918
                      Debit Memos Table 5                     2,313,707       1,843,314                                            97,264                  470,393
                                                         $    4,760,847 $ 3,640,150 $                                             747,568 $              1,120,697

                      Lead Time Penalties after January 2016
                      Lead Time PenaTable 6                  3,107,778 N/A

                      Owed by Benlida to CTX                             $       7,868,625


    While we have not been able to recreate exactly the KM Report’s results, overall, with regard to
    CTX-US and Benlida, there is a certain amount of consistency. As is made clear in footnote 14 of
    the KM Report, KM only included the CTX-US numbers and not the CTX-HK and ROK numbers.
    Without the details of the KM Report’s analysis, we cannot opine if we agree with KM’s analysis.
    However, given the multitude of data sources and the ongoing work by the respective litigants to
    determine exactly what is owed, for purposes of this analysis, we will not take issue with the
    “Reconciliation Period” portion of the KM Report’s conclusion for CTX-US.


    The KM Report does not include any discussion of how common, (or uncommon), it is for a
    customer to overpay on its account to the level concluded to in the KM Report. According to the
    Page 5 of 15                                                             A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 10 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   KM Report and the table on the next page, CTX-US has maintained “prepaid balance” approaching
   three to six month months of invoices. The author and signer of this report for A.J. Santye & Co
   has not seen anything like this in 37 years of public accounting. KM was silent on this issue.


   The table below is reprinted (with formatting changes and additional analysis from us) from the
   KM Report’s documents. Broadly, this document, which is noted as version 5 in the file name,
   meshes with the KM Report. Again, the KM Report did not provide their actual analysis but we
   note that there is a level of congruence.
   Source Benlida Paym ent Details CTX-US_2012-2021 v5                                                                                             Paym ent Type


   Payment Detail                                Total Debit                                    Balance Due/(Credit                                 Non
       Year       Total Invoices                  Memos                Total Payments                Balance)                   Cummulative       rounded    000s
          2012           $ 1,168,214.09      $       (13,087.96)   $           (1,052,134.79)   $             102,991.34    $         102,991.34         6           1
          2013           $ 3,477,155.95      $      (169,253.24)   $           (3,455,959.35)   $            (148,056.64)   $         (45,065.30)        3           7
          2014           $ 6,887,622.54      $       (80,930.99)   $           (7,858,569.80)   $          (1,051,878.25)   $      (1,096,943.55)        4          16
          2015           $ 9,293,546.49      $      (855,066.49)   $           (8,953,676.45)   $            (515,196.45)   $      (1,612,140.00)        4          25
          2016           $ 8,754,631.41      $      (710,083.81)   $           (7,868,054.90)   $             176,492.70    $      (1,435,647.30)        4          23
          2017           $ 9,197,773.44      $       (61,717.14)   $          (12,722,992.87)   $          (3,586,936.57)   $      (5,022,583.87)        1          44
          2018           $ 16,683,255.06     $      (836,614.95)   $          (17,080,547.82)   $          (1,233,907.71)   $      (6,256,491.58)        1          51
          2019           $ 11,006,040.23     $       (28,345.44)   $           (9,605,676.58)   $           1,372,018.21    $      (4,884,473.37)       14          26
          2020           $ 2,541,885.39      $        (1,840.85)   $           (3,214,290.89)   $            (674,246.35)   $      (5,558,719.73)       29           2
   2021 Ends February    $    253,000.12     $              -      $             (327,954.90)   $             (74,954.78)   $      (5,633,674.51)       12           0
                         $ 69,263,124.71     $     (2,756,940.87) $           (72,139,858.35) $            (5,633,674.51)                              78       195



   NOTE- The years 2012 to 2013 invoices and payments are listed on a Fiscal year basis ending in October. Beginning in 2014 the invoices are
   listed on a Fiscal year basis ending in September w hile the payments are listed on a calendar year basis




   The live file which came from KM, includes the details of the payments. We note that there were
   a total of 273 payments listed. Of those payments, 195 were in even thousands of dollars.
   (Example $250,000 at a time.) We include the summaries of each year at Exhibit-2. As shown in
   the table above, through 2018, substantially all of the payments were in even amounts. In fact, it
   was not until the August 8, 2019 payment that the payments ceased being rounded even amounts
   and the payments were made in very specific amounts (dollars and cents).


   This is noteworthy. Such payments and the frequency of them are consistent with ongoing
   “payments on account” and not specific payments on invoices. Ordinarily it is customary to apply
   “payments on account” to the oldest invoice first, unless, in a timely manner, specific invoices are
   identified. We understand that this is an area of dispute in this matter. We also note that much of
   the Excel files were created at around this time when the parties were trying to reconcile the
   amounts owed to one another which was in the latter half of 2019. It is also in the latter half of
   Page 6 of 15                                                                                                                   A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 11 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   2019 that the payment pattern of even thousands amounts changes for payments received by both
   Benlida and ROK.


   KM did not discuss this issue even though the data was available to them.


   This impacts the starting point of when to start the analysis. Since CTX-US payments were almost
   entirely consistent with payments on account, an arbitrary start date that does not consider the
   running balance is misleading. We understand that this is also a dispute in the matter and that there
   are statute of limitation issues which are legal in nature.


   We will return to this issue, later in this report. KM did not discuss it at all.


   What is not in the KM Report


   As stated earlier, there are two Benlida entities (Benlida and ROK) and there are two Circuitronix
   entities (CTX-US and CTX-HK).


   We reprint a portion of a spreadsheet that was included in the KM Reports documents relied upon.
   This shows the information that was not included in the KM Report as it related to the invoicing
   and payments made to ROK. We include the summary page and the annual summaries at Exhibit
   -3.




   Page 7 of 15                                                                   A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 12 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   Source Benlida Shipment and Payment Details CTX‐HK_2012‐2019                                                                          Payment Type



                                                  Total Debit                          Balance Due/(Credit
   Payment Detail Year      Total Invoices         Memos            Total Payments          Balance)             Cummulative       Non rounded       000s

            2012           $      50,844.68                     $                -     $         50,844.68   $         50,844.68
            2013           $    663,041.04    $     (39,550.39) $         242,827.24   $        380,663.41   $        431,508.10                 7
            2014           $   2,127,957.19   $     (15,911.64) $         776,987.44   $      1,335,058.11   $      1,766,566.20                 4          3
            2015           $   4,866,595.96                     $       3,959,983.86   $        906,612.10   $      2,673,178.30                 5          15
            2016           $   7,449,167.92                     $       5,572,718.50   $      1,876,449.42   $      4,549,627.72                 5          23
            2017           $   7,095,140.71                     $       4,405,490.00   $      2,689,650.71   $      7,239,278.43                 1          24
            2018           $   9,451,795.08                     $       4,555,000.00   $      4,896,795.08   $     12,136,073.51                 0          22
        2019.01-07         $   3,602,117.12                     $       2,245,367.06   $      1,356,750.07   $     13,492,823.58                 7          8
                           $ 35,306,659.70    $     (55,462.03) $      21,758,374.10   $     13,492,823.58                               29.00          95.00


   Source
   Benlida Shipment and Payment Details CTX‐HK_2012‐2019
   Original creation date 11‐1‐2019




   As shown previously, CTX-US’s and Belinda’s data indicate that CTX overpaid Benlida by
   approximately $5.4 million (depending upon the data source). This is covered extensively by KM.


   CTX has underpaid the Benlida Group by $13.5 million. This has been studiously not covered by
   KM. Thus, even if the offsets claimed by CTX are ultimately proved at trial and accounted for, the
   CTX group would still owe the Benlida Group as much as $8.0 million, again depending upon the
   data source.


   We also note that similar to CTX-US and Benlida, the payments reflected for CTX-HK and
   Benlida/ROK are largely in even thousands until August 2019 when the parties apparently began
   to try to reconcile their accounts.


   KM did not comment on this entire issue except to say they would comment on this issue after a
   potential response report. Why the CTX-HK/Benlida/ROK issue, which is significant, and as
   discussed later, is intentionally left out of the KM Report, will potentially be made after a response
   report, is interesting. Ignoring the CTX-HK/Benlida/ROK issue, as KM does, makes the entire
   conclusion of the KM Report difficult to accept, as it is predicated upon an untenable theory that
   the two parties have such an inverse relationship to the norm. We will discuss this later in this
   report.

   Page 8 of 15                                                                                                         A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 13 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   Illustration of the Statue of Limitation Issue


   We recognize that there is a dispute between the parties and that the Florida statute of limitations
   for breach of contract is five years. We understand that that would include the period from January
   2016 forward, as measured from the date of the filing of the complaint. In fact, the KM Report
   appears to begin its analysis with a look back to 2012.


   This was not discussed in the KM Report. However, within the KM files produced to us, there
   were worksheets that illustrate the amounts due for the period from 2015 to through approximately
   July 2019. These documents are from the KM files. Included at Exhibit 3 and Exhibit 4 are excerpts
   from two files- “Benlida Payments Details CTX-HK_2015 to 2019 v2.1” (Exhibit 3) and Benlida
   Payments Details CTS-US_2015-2019_v2.1” (Exhibit 4).


   For the periods shown, CTX owes Benlida/ROK approximately $8,843,225 and Benlida owes
   CTX approximately $5,723,591.       As shown in the files relied upon by KM, Benlida is owed
   approximately a net amount of $3,119,634 as shown on the next page.




   Page 9 of 15                                                                A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 14 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

        Source: Benlida Shipment and Payment Details CTX-HK_2015-2019 v2.1

        Payment Detail                                                                    Balance Due/(Credit
            Year             Total Invoices   Total Debit Memos     Total Payments             Balance)
             2015        $       4,632,142.06 $      (830,291.63) $       (3,392,641.63) $          409,208.80
             2016        $       7,277,462.51 $      (227,386.40) $       (5,995,254.45) $        1,054,821.66
             2017        $       6,918,653.29 $       (163,942.27) $      (4,405,492.90) $         2,349,218.12
             2018        $       9,406,334.03 $     (1,400,210.14) $      (4,555,000.00) $         3,451,123.89
          2019.01-07     $       2,666,698.53 $       (47,845.42) $       (1,040,000.00) $         1,578,853.11
                         $      30,901,290.42 $     (2,669,675.86) $     (19,388,388.98) $         8,843,225.58




        Source: Benlida Shipment and Payment Details CTX-US_2015-2019 v2.1
        Payment Detail                                                                    Balance Due/(Credit
             Year         Total Invoices Total Debit Memos    Total Payments                   Balance)
             2015        $       9,095,077.35 $      (813,048.16) $       (7,815,190.90) $           466,838.29
             2016        $       9,206,847.74 $      (560,380.12) $       (7,623,054.90) $         1,023,412.72
             2017        $       9,388,547.43 $      (237,259.16) $      (12,972,992.87) $        (3,821,704.60)
             2018        $      17,527,528.38 $      (666,958.02) $      (17,080,547.82) $          (219,977.46)
             2019        $       3,743,032.36 $       (15,192.91) $       (6,900,000.00) $        (3,172,160.55)
                         $      48,961,033.26 $     (2,292,838.37) $     (52,391,786.49) $        (5,723,591.60)




        Total

        Payment Detail                                                                     Balance Due/(Credit
            Year           Total Invoices     Total Debit Memos      Total Payments             Balance)
            2015         $    13,727,219.41   $     (1,643,339.79) $     (11,207,832.53) $           876,047.09
            2016         $    16,484,310.25   $       (787,766.52) $     (13,618,309.35) $         2,078,234.38
            2017         $    16,307,200.72   $       (401,201.43) $     (17,378,485.77) $        (1,472,486.48)
            2018         $    26,933,862.41   $     (2,067,168.16) $     (21,635,547.82) $         3,231,146.43
            2019         $     6,409,730.89   $        (63,038.33) $       (7,940,000.00) $       (1,593,307.44)
                         $    79,862,323.68   $     (4,962,514.23) $     (71,780,175.47) $         3,119,633.98




   Going back to the earliest analysis prepared by the litigants, from 2012 to 2019, KM acknowledges
   that CTX owes Benlida/ROK approximately $13,492,823 and maintains for the purpose of
   analysis that Benlida owes CTX approximately $9,428,652. As shown in these files, according
   to KM, Benlida is owed approximately a net amount of $4,064,171.




   Page 10 of 15                                                                          A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 15 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.
         Source: Benlida Shipment and Payment Details CTX-HK_2012-2019 (Exhibit 3)
         Calender Year
         Payment Detail                                                                   Balance Due/(Credit
              Year         Total Invoices    Total Debit Memos      Total Payments             Balance)            Cummulative
              2012       $         50,844.68 $                -   $                   - $            50,844.68   $     50,844.68
              2013       $        663,041.04 $       (39,550.39) $          (242,827.34) $          380,663.31   $    431,507.99
              2014       $     2,127,957.19 $        (15,911.64) $          (776,987.44) $        1,335,058.11   $ 1,766,566.10
              2015       $     4,866,595.96 $               -    $        (3,959,983.86) $          906,612.10   $ 2,673,178.20
              2016       $     7,449,167.92 $               -    $        (5,572,718.50) $        1,876,449.42   $ 4,549,627.62
              2017       $     7,095,140.71 $               -    $        (4,405,490.00) $        2,689,650.71   $ 7,239,278.33
              2018       $     9,451,795.08 $               -    $        (4,555,000.00) $        4,896,795.08   $ 12,136,073.41
           2019.01-07    $     3,602,117.12 $               -    $        (2,245,367.08) $        1,356,750.04   $ 13,492,823.45
                         $    35,306,659.70 $        (55,462.03) $      (21,758,374.22) $        13,492,823.45




         Source:Benlida Shipment and Payment Details CTX-US_2012-2021 v5 (Exhibit 5)
         Payment Detail                                                                  Balance Due/(Credit
              Year         Total Invoices   Total Debit Memos      Total Payments             Balance)           Cummulative
              2012       $     1,168,214.09 $        (13,087.96) $       (1,052,134.79) $          102,991.34 $     102,991.34
              2013       $     3,477,155.95 $       (169,253.24) $       (3,455,959.35) $         (148,056.64) $    (45,065.30)
              2014       $     6,887,622.54 $        (80,930.99) $       (7,858,569.80) $       (1,051,878.25) $ (1,096,943.55)
              2015       $     9,293,546.49 $       (855,066.49) $       (8,953,676.45) $         (515,196.45) $ (1,612,140.00)
              2016       $     8,754,631.41 $       (710,083.81) $       (7,868,054.90) $          176,492.70 $ (1,435,647.30)
              2017       $     9,197,773.44 $        (61,717.14) $     (12,722,992.87) $        (3,586,936.57) $ (5,022,583.87)
              2018       $    16,683,255.06 $       (836,614.95) $     (17,080,547.82) $        (1,233,907.71) $ (6,256,491.58)
              2019       $     3,743,032.36 $        (15,192.91) $       (6,900,000.00) $       (3,172,160.55) $ (9,428,652.13)
                         $    59,205,231.34 $     (2,741,947.49) $     (65,891,935.98) $        (9,428,652.13)




          Total
         Payment Detail                                                                     Balance Due/(Credit
             Year           Total Invoices     Total Debit Memos      Total Payments             Balance)          Cummulative
             2012         $     1,219,058.77   $        (13,087.96) $       (1,052,134.79) $          153,836.02 $    153,836.02
             2013         $     4,140,196.99   $       (208,803.63) $       (3,698,786.69) $          232,606.67 $    386,442.69
             2014         $     9,015,579.73   $        (96,842.63) $       (8,635,557.24) $          283,179.86 $    669,622.55
             2015         $    14,160,142.45   $       (855,066.49) $     (12,913,660.31) $           391,415.65 $ 1,061,038.20
             2016         $    16,203,799.33   $       (710,083.81) $     (13,440,773.40) $         2,052,942.12 $ 3,113,980.32
             2017         $    16,292,914.15   $        (61,717.14) $     (17,128,482.87) $          (897,285.86) $ 2,216,694.46
             2018         $    26,135,050.14   $       (836,614.95) $     (21,635,547.82) $         3,662,887.37 $ 5,879,581.83
             2019         $     7,345,149.48   $        (15,192.91) $       (9,145,367.08) $       (1,815,410.51) $ 4,064,171.32
                          $    94,511,891.04   $     (2,797,409.52) $     (87,650,310.20) $         4,064,171.32




   To show the untenable position that CTX seeks to do by separating Benlida and ROK (where
   Benlida has been overpaid and ROK has been underpaid) we will combine the two balances to
   show that combined, Benlida and ROK have a commercially normal relationship with CTX. We
   use this illustration below.


   In the table above, at the end of 2018, there is a combined the $5.879 million balance owed by
   CTX entities to Benlida/ROK. Also from the table above, during 2018, there was a combined
   $26.135 million in purchases by CTX. $26.135 million is approximately $2.2 million in purchases
   per month ($26.135 million in purchases /12 months = $2.177 per month). Based on the
   information in the above table, at the end of 2018 there is approximately 2.7 months of purchases
   Page 11 of 15                                                                                         A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 16 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   that CTX owes Benlida/ROK for using 2018 purchases as a guide. ($5.879 million owed /$2.177
   million in monthly purchases = 2.7 months or 75 days of purchases.). This is not an unreasonable
   commercial relationship since it would take time for the invoices to be processed and paid.

   Lead Time Penalties (“LTPs”)


   Another area in dispute is the imposition of penalties that are spelled out in the manufacturing
   agreement when Benlida does not ship the orders according to a specific and agreed time frame.


   Based upon the language in the KM Report, KM provided a limited recalculation of approximately
   8 worksheets4 provided by CTX. KM did not validate the inputs used to compute the LTP5. Since
   KM, by its own report did not seek to validate the inputs, this claim is unsupported (other than
   mathematically in the KM Report). We are not aware of any acceptance, rejection, or waivers that
   both parties agreed to other than what is spelled out in the KM Report in paragraphs 34 to 36 of
   their report. We were also provided with the same information that supports the KM Report’s
   calculations in paragraph 36 and Table 6 of their report. Similar to the other information
   summarized in the KM Report, KM did not actually provide their analysis so that we could trace
   their work and either agree or disagree with it. By way of illustration, the LTPs for April 2016
   through March of 2018 were apparently calculated on one worksheet by CTX for both Benlida and
   ROK. KM did not discuss or disclose how the separation between ROK and Benlida was
   accomplished for those files.


   We also note that the KM Report suggests that the LTPs since January 2016 have not been assessed
   by CTX against Benlida or ROK in the form of debit memos as they had been prior. It is ultimately
   a legal question when price adjustments or penalties need to be assessed before they are limited by
   the appropriate statute of limitations. As of the date of both expert reports, it is seven years since
   the LTPs measured by KM in paragraph 36 and Table 6 of their report. The earliest LTPs were
   for February 2016 to February 2017 according to KM,




   4
    Paragraphs 30 to 33 of the KM Report.
   5
    Footnote 22 of the KM Report
   Page 12 of 15                                                                A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 17 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   This provides an interesting insight into the relationship of the CTX entities. If the CTX entities
   are truly separate and CTX considers Benlida and ROK separate, why does CTX calculate the
   substantial Lead Time Penalties on the same Excel worksheet file and tabs. Further, arbitrarily not
   assessing the LTPs and then seeking to assess them at the very same time also is suggestive that
   CTX considers Benlida and ROK as one economic entity.


   It would seem that CTX has control over CTX-HK. Put another way, CTX-HK and CTX-US
   would appear to be controlled and dominated by CTX. We also are not able from the information
   contained, to ascertain which LTPs were for Belinda or ROK. The KM Report is silent on how
   they made the determination.


   Inverse Commercial Relationship


   If CTX considers Benlida and ROK separate, why does CTX effectively lend Benlida money (by
   overpaying their debt to Benlida while CTX-HK owes more than two years of invoices to
   Benlida/ROK? KM does not address these issues but the data that was provided to KM, and
   ultimately us, from an accountant’s point of view shows a very close relationship between all the
   litigants and further given the patterns of payment behavior (rounded even payment starting and
   stopping at nearly the same time) suggests strong operational control and influence that reduces
   the separation from CTX’s perspective and Benlida/ROK’s perspective. We understand that it is a
   legal issue whether orders placed by CTX-HK were actually placed for CTX-US; however, from
   an accountant’s standpoint, the data clearly supports such a conclusion.


   This is clearly an area of law and the issue was not discussed at all in the KM Report. We bring it
   up since the KM Report’s focus on one entity to the exclusion of the other – especially given that
   one entity’s financial behavior so would fall far outside the norm of customer and provider (CTX
   overpaying Benlida by months of revenue). Normally the opposite is true - the customer owes
   the supplier. In this case, the total relationship between CTX and Benlida/ROK mimics more
   normal commercial terms. This is clearly a legal dispute.




   Page 13 of 15                                                              A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 18 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   In addition, if the LTPs are appropriate (that CTX did not assess/assert), and if the inputs (that KM
   did not validate) are in fact correct and not in dispute, is also a legal issue. KM did not provide
   any analysis (other than a math checks) to support the LTPs. We reserve the right to recalculate
   LTPs once the necessary data is provided to us.


   Conclusion


   The KM Report is an 11 page summary of their calculations. We accept that there were multiple
   sources of information that were created at different times and that neither litigant’s records should
   be considered pristine. We also recognize that the litigants themselves were working to reconcile
   and correct their books and records.


   We believe that the KM Report only seeks to show one side of the economic relationship between
   the litigants – namely the side that best suits their clients’ needs – that CTX has overpaid Benlida
   and nothing else. However, taking into consideration the CTX-HK/Benlida/ROK aspects, which
   is a substantial portion of the overall Benlida/CTX relationship, if LTP’s are proved, then Benlida
   is actually owed between $3 and $8 million dollars depending upon when the analysis begins
   (based upon the statute of limitation) and the court’s final decision on whether the payments by
   CTX to both Benlida and ROK were payments on account of specific invoices.


   However, a deep dive into the records that KM relied upon shows that from an accounting
   perspective, the CTX entities and the Belinda/ROK entities are very intertwined. One affiliate has
   a large overpayment (CTX-US). The other entity has an even larger underpayment (the CTX-
   HK/Benlida/ROK claim). However, when combined, the relationship falls into more normal
   commercial terms.


   Our role in this litigation, among others, is to analyze the KM report, and, consequently, quantify
   the amounts owed to Benlida, whether or not CTX-US or Benlida are successful in asserting or
   challenging LTP’s, statute of limitations defenses or overpayment arguments This report has been
   prepared solely for use in the above-referenced litigation and is intended for no other purpose.
   This report may not be reproduced or circulated without the prior written consent of Santye. We
   Page 14 of 15                                                                A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 19 of
   Jean Claude Mazzola, Esq.          38
   Richard Lerner, Esq.

   reserve the right to update our report should more supporting information and clarity become
   available.


   This report was prepared and edited under the supervision and direction of Randall M. Paulikens,
   CPA/ABV/CFF/CITP. Should expert testimony be required in this matter, Randall M. Paulikens
   will testify. The partners and staff of Santye, have no present or contemplated future interests in
   any party related to this litigation that might prevent us from forming an unbiased opinion in this
   matter. Our compensation is not contingent upon the outcome of this or any related litigation. Mr.
   Paulikens billing rate is $550 per hour. Mr. Paulikens CV is included at Tab D.


   Our engagement included an analysis of documentation that was believed to be relevant to our
   calculations. These documents were provided by counsel. Our investigation also included review
   of deposition transcripts in lieu of interviews as depositions are question and answer sessions under
   oath. We also performed our own independent research, and rely upon the “body of knowledge”
   accumulated as accountants and litigation/damage experts.            A list or summary of this
   documentation is included at Tab C.



   Very truly yours,
   A.J. Santye & Co., P.A.




   Randall M. Paulikens, CPA/ABV/CFF/CITP
   Partner




   Page 15 of 15                                                               A.J. Santye & Co, P.A.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 20 of
                                      38




                                                   Tab - B
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 21 of
                                      38



                         ASSUMPTIONS AND LIMITING CONDITIONS

   The primary assumptions and limiting conditions pertaining to the determination of economic
   analysis stated in this report are summarized below. Other assumptions may be cited elsewhere in
   this report. This economic analysis may not be used in conjunction with any other appraisal or
   study. The determination of economic amounts due stated in this report is based on the program
   of utilization described in the report, and may not be separated into parts.

   As part of our engagement, we have been instructed by Counsel to assume certain facts and/or
   assertions regarding the actions of the defendants as well as the underlying law, proofs of which
   will be testified to and provided at trial. We are not responsible for proving the liability (and
   causation) aspects of this matter. In the narrative section of this report, A. J. Santye & Co., P.A.
   (“Santye”) will be reciting certain of these facts in order to illustrate our methodology, as well as
   our rational in preparing our calculations and arriving at our opinions as to the damages calculated.
   We will be measuring the amount of damage based upon the determination of the existence and
   magnitude of liability.

   We reserve the right to modify or even recall our report at our discretion in the event that counsel’s
   representation should change. In addition, if additional information becomes available after our
   report is issued we also reserve the right to modify our report as appropriate.

   No change of any item in this report shall be made by anyone other than Santye and we shall have
   no responsibility for any such unauthorized change. Unless otherwise stated in the report, the
   economic analysis of the amounts due to the Plaintiffs has not considered or incorporated the
   potential economic gain or loss resulting from contingent assets, liabilities or events existing as of
   the date of this report.

   Neither all nor any part of the contents of the report shall be disseminated or referred to the public
   through advertising, public relations, news or sales media, or any other public means of
   communication or referenced in any publication without the prior written consent, approval and
   review by Santye.

   Management is assumed to be competent, and the ownership to be in responsible hands, unless
   otherwise noted in this report. The quality of the business management can have a direct effect on
   the viability and the analysis of economic benefits and loss incurred by the Plaintiffs.

   Unless otherwise stated, no effort has been made to determine the possible effect, if any, on the
   subject business because of future federal, state or local legislation, including any environmental
   or ecological matters or interpretations thereof.

   As previously stated this report is solely for the stated litigation matter and should not be used for
   any other purpose or distributed to third parties, in whole or in part, without the express written
   consent of Santye.

   All facts and data set forth in our report are true and accurate to the best of our knowledge and
   belief.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 22 of
                                      38



                ASSUMPTIONS AND LIMITING CONDITIONS (CONTINUED)

   During the course of the engagement, we have considered information provided by counsel,
   management and other third parties. We believe these sources to be reliable, but no further
   responsibility is assumed for their accuracy.

   We have no responsibility or obligation to update this report for events or circumstances occurring
   subsequent to the date of this report.

   We have relied upon the representations of counsel, as necessary, in preparing this report.

   In all matters that may be potentially challenged by a Court, the Internal Revenue Service or others,
   we do not take any responsibility for the degree of reasonableness of contrary positions that others
   may choose to take, nor for the costs or fees that may be incurred in the defense of our
   recommendations against such challenge(s). We will, however, retain our supporting work papers
   for your matter(s), and will be available to assist in active defense of our economic damage
   calculations, at our then current rates, plus direct actual expenses and according to our then
   standard professional agreement.
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 23 of
                                      38




                                                   Tab - C
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 24 of
                                      38

                                      JIANGMEN BENLINDA PRINTED CIRCUIT CO., LTD.,
                                                          V.
                                                  CIRCUITRONIX, LLC
                                              CASE NO. 0:21‐cv‐60125‐RNS
                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF FLORIDA

                                  DOCUMENTS UTILIZED FROM OPPOSING EXPERT'S REPORT

  No.                                                       Document Description
   1    Third Amended Complaint filed June 1, 2021 (Case 21‐cv‐60125‐RNS‐DE26
        Defendents Answer and Affirmative Defenses to Plaintiff's Third Amended Complaint and Defendents Counterclaim filed on
   2
        October 15, 2021 (Case 21‐cv‐60125‐RNS‐DE34)
   3    Benlida Payment Details CTX‐US_2012‐2019.xls
   4    2012‐2019reconciliation analysis‐2019.11.15 CCT
   5    Email dated March 21, 2017 from tracy@benlida.com Rishi Kukreja
        Email from tracy@benlida.org to Rishi Kukreja at CTX on July 28, 2016 and its attachments including the "cancel amount and
   6
        payment.xls" spreadsheet
        Debit Memo (BEN‐DM20131020, BEN‐DM20131203, BEN‐DM20140120, BEN‐DM20140520, BEN‐DM20140620, BEN‐
   7    DM20140720, BEN‐DM20140820, BEN‐DM20140919, BEN‐DM20140920, BEN‐DM20150310, BEN‐DM20160321, and BEN‐
        DM20171128‐2
   8    Benlinda Payment Details CTX‐US_2012‐2021_v5.xls
        JiangMen Benlinda Printed Circuit Co., Ltd Commercial Invoice to Circuitronix dated April 12, 2019 (Invoice No. CCT‐BLD‐
   9
        190412001 )
        JiangMen Benlinda Printed Circuit Co., Ltd Commercial Invoice to Circuitronix dated August 30, 2019 (Invoice No. CCT‐BLD‐
  10
        190830001)
        JiangMen Benlinda Printed Circuit Co., Ltd Commercial Invoice to Circuitronix dated September 3, 2019 (Invoice No. CCT‐BLD‐
  11
        190903002)
  12    Lead Time Penalty Spreadsheets from Febuary 2016 to March 2021
  13    "Meeting Minutes" of a meeting between CTX and Benlida on 10/20/2017 (BLD_00000582 and BLD00000073)
        Circuitronix, LLC Citibank N.A. Account Ending in 2698 Bank Statements for the Period from May 1, 2012 through February
  14
        28, 2021

        Email from Rishi Kukreja dated November 11, 2019 subject: Circuitronix, USA Payment Reconciliation from 1st of April, 2012
  15
        until present from Benlinda and ROK and its attachements which include "Benlinda Payment Details CTX‐US_2012‐2019.xlsx"
        and "ROK Payment Details CTX‐US‐HK 2012‐2019.xlsx"
        Responding email from accounting@benlinda dated November 14, 2019 re:Circuitronix, USA payment reconciliation from
  16    1st of April, 2012 until present for Benlida and ROK and its attachment "2012‐2019reconciliation analysis‐2019.11.15
        CCT.xlsx"

        Follow up email from accounting@benlinda dated November 22, 2016 re:Circuitronix, USA payment reconciliation from 1st
  17
        of April, 2012 until present from Benlida and ROK and its attachment "CTX missing inv. Details.xlsx", "Payment
        Discrepency(1).xlsx" and Benlinda Shipment and Payment and Payment Details CTX‐HK_2012‐2019.xlsx"
  18    Payments from Circuitronix, LLC to Jiangmen Belinda details for the period August 2019 through July 2020
  19    Belinda Complaint Invoice
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 25 of
                                      38

                                             ADDITIONAL DOCUMENTS UTILIZED

  No.                                                       Document Description
  20    Benlida ‐‐ CTX stipulated and so‐ordered protective order
  21    CTX ‐‐ Ex. 2 exerpts from Ochoa deposition
  22    CTX ‐‐ Ex. 3 ‐‐ exerpt from deposition of Nicole Donaldson
  23    CTX ‐‐ Ex. 4 ‐‐ exerpts from Tracy Huang's deposition
  24    CTX ‐‐ Ex.5 exerpts from Roger Wu deposition
  25    Ctx ‐‐ Ex.6 ‐‐ exerpts from Lina Ochoa deposition
  26    CTX ‐‐ motion and memorandum in support of summary judgement
  27    CTX motion for SJ; Martinez declaration in support
  28    CTX motion for summary judgement ‐‐ statement of facts
  29    Benlida Payment Details CTX‐HK_2015‐2019
  30    Benlida Payment Details CTX‐US_2015‐2019
  31    Benlida Shipment and Payment Details CTX‐HK_2012‐2019
  32    BLDROK SHIPMENTS+PAYMENTS 07.20.2019
  33    Missing Invoice List
        Response email from Rishi Kukreja dated July 30, 2019 to douglas@benlida.com, subject: Final Payment Reconciliation for
  34
        CTX, HKG, CTXm USA and ROK. "CTX_00004704.pdf"
  35    ROK Payment Details CTX‐US‐HK_2015‐2019
  36
        01 ‐ 2022年3月财务报表 ‐ Untranslated March, 2022 Financials ‐ Prepared by Jiangmen Benlida Electric Circuit Co., Ltd.
  37
        02 ‐ 2022年6月财务报表 ‐ Untranslated June, 2022 Financials ‐ Prepared by Jiangmen Benlida Electric Circuit Co., Ltd.
  38
        03 ‐ 2022年9月财务报表 ‐ Untranslated September, 2022 Financials ‐ Prepared by Jiangmen Benlida Electric Circuit Co., Ltd.
  39    2021年12月财务报表(2) ‐ PDF File ‐ Untranslated December, 2021 Financials
  40    2021年12月财务报表(2) ‐ Excel File ‐ Untranslated December, 2021 Financials
  41    2022年9月财务报表(1) ‐ PDF ‐ Untranslated September, 2021 Financials
  42    2022年9月财务报表(1) ‐ Excel ‐ Untranslated September, 2021 Financials
  43    6月BLD‐CCT ‐ Monthly Statement for Delivery Dated:2017.07.10
  44    6月HK‐CCT对账(BLD) ‐ HK Monthly Statement for Delivery Dated:2017.07.10
  45    2017 Statement Reconciliation Dated: January 10, 2018
  46    Benlida vs CTX Accounting Event Timeline
        Email chain between Rishi Kukreja, douglas@benlida.com, tracy@benlida.com, and sourabhs@circuitronix.co.in. Subject:
  47
        Procedure for Calculating Leadtime Exceedance Penalty Dated: June 16, 2016 through July 14, 2016
  48    Meeting Minutes dated December 13, 2016 and December 14, 2016
  49    Benlida Payment Details July 1 2016 ( April Invoices)
  50    2012 Manufacturing Agreement
  51    2016 Letter Agreement
  52    Benlida ‐ Circuitronix ‐‐ 2nd agreement ‐‐ 2016
  53    Benlida ‐ Circuitronix Contract
  54    Third Amended Complaint and Answer
  55    Benlida Source for Complaint 12_1_20 (2)
  56    Benlida Statement Reconciliation
  57    ROK Statement Reconciliation
  58    CTX_01533295 ‐ Benlida Proforma Cost and Inventory Management
  59    2022.12.19 ‐‐ Circuitronix ‐‐ Chauncey Cole Reply Affidavit
  60    2022.12.19 ‐‐ Circuitonix reply re motion to enforce settlement
  61    2022.12.27; declaration of Tracy Huang in reply re motion to enforce settlement
  62    Benlida v. CTX; declaration of Huang Hanchao
  63    CIRCUITRONIX_ LLC_ D_B Duns Private Company Insight 4876‐4235‐2965 v.1
  64    CIRCUITRONIX‐LLC_12‐23‐2022 D & B Report
  65    Email chain exhibits included in 1‐13‐2023 Motions; Ex. 19, Ex. 20, Ex. 24, Ex. 26, Ex. 27, Ex. 28, Ex. 29, and Ex. 30.
  66
        01 ‐ 21 Benlida Audited Financial Statements(Revised) Benlida Version 11.8.2022
  67
        2021 Financials ‐ 2021年12月财务报表(2)
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 26 of
                                      38

  68
       2022 Part Year Financials 2022年9月财务报表(1)
  69
       2022 Part Year Financials 2022年9月财务报表(1)
  70
       Bal Sheet & P&L 2021FY_2022PartYear 2021 Audited financials
  71
       Conference call Thursday November 17, 2022
  72
       Copy of Profit and Loss
  73   excel Balance sheet
  74   GAAP Balance Sheet
  75   GAAP P&L
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 27 of
                                      38




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  Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 28 of
                                        38
RANDALL M. PAULIKENS
CPA/ABV/CFF/CITP


                                 SUMMARY
                                 Over 37 years of public accounting experience representing all sizes of
                                 clients from small solo practitioner professional practices to large
                                 Fortune 50 public companies. Performs all phases of litigation support,
                                 including lost profits and damage calculations, business valuations,
                                 matrimonial accounting, mergers and acquisitions, criminal (prosecution
                                 and defense), bankruptcies, forensic accounting, wrongful death
                                 calculations, and discovery. Many years of traditional accounting
                                 experience including the taxation and reporting for closely-held
                                 businesses and individuals. Involved in feasibility studies of new
                                 ventures or acquisitions from initial contact through “closing” both from
                                 the buying and selling side. Consults in connection with mergers and
                                 acquisitions, buy/sell agreements, compensation arrangements.

   Present Position:    Partner
                        A.J. Santye & Co
                        36 E. Main Street
                        Somerville, NJ 08876
                        908-704-1400. Mobile 732-674-5462

                        2 Bridge Ave, Suite 522
                        Red Bank, New Jersey 07701
                        Email: rpaulikens@santye.com
                        Website: www.santye.com

                        September 2022 to Present

   Former Positions:    Partner/Managing Principal
                        Forensic Accounting, Litigation Support & Valuation Services
                        Friedman LLP
                        February 2016 to September 2022
                        Partner
                        Litigation/Valuation/Law Firm Support Services
                        WithumSmith+Brown
                        November 1997 to January 2016
                        Supervisor
                        Litigation Support
                        Druker, Rahl & Fein
                        January 1995 to November 1997
                        Manager/
                        Network Administrator
                        A.J. Santye & Co.
                        September 1988 to January 1995
                        Staff Accountant
                        Sidney W. Binder & Co.
                        September 1986 to September 1988
                        Staff Accountant
                        Druckman & Hill
                        January 1986 to September 1986
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 29 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   CREDENTIALS/EDUCATION
     BA degree in Economics, Minor in Physics, Rutgers University
     Certified Public Accountant (CPA), New Jersey
     Accredited Business Valuation (ABV) from the AICPA
     Certified in Financial Forensics (CFF) from the AICPA
     Certified Information Technology Professional (CITP) for the AICPA

   PROFESSIONAL ORGANIZATIONS/MEMBERSHIPS
     American Institute of Certified Public Accountants (AICPA)
     New Jersey Society of Certified Public Accountants (NJSCPA)

   TRIAL/ARBITRATION EXPERT TESTIMONY
         Catalyst Advisors Investors Global, Inc. v Catalyst Advisor L.P.
         (Delaware Superior Court) - 2022

         United States v Sergio Ramirez
         (United States District Court – Eastern District of New York) 2021

         Boyle v Boyle
         (Civil Arbitration) 2020

         Timothy Tyson, Keith Lyon and James Scandura v. Avara Pharmaceuticals,
         Avara Pharma Services, Ltd. And Leonard Levie
         (Civil Arbitration) 2019

         Gene Camali, Nada Camali and Core Fusion v. Paladino, Strike Zone Fitness et al
         (Bergen County, NJ) 2019

         Sergio Magarik, individually and on behalf of Kraus USA, Inc. v.
         Kraus USA, Inc., Michael Rukhlin, and Russel Levi
         (Nassau County, NY) 2018, 2019

         First Manhattan Consulting Group, LLC. v. Novantas, Inc. Andrew Frisbie, Peter Gilchrist and
         Jonathan West
         (Manhattan County Supreme Court, NY) 2017

         Zeus Scientific, Inc. v. Alere, Inc.
         (Civil Arbitration) 2017
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 30 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   TRIAL/ARBITRATION EXPERT TESTIMONY - Continued
         Northern Star Management v. Castlepoint National Insurance Company
         (Civil Arbitration) 2015

         Hyundai Wie v. Nelson Rowell et al.
         (Federal Bankruptcy) 2014

         Silecky Firm v. Squire Sanders & Dempsey
         (Civil Arbitration) 2011

         Golden v. Golden
         (Monmouth County Superior Court, NJ) 2007

         Axelrod v. Central Garden & Pet et al
         (Monmouth County Superior Court, NJ) 2005

         In the Matter of Ketchow
         (Monmouth County Chancery Court, NJ) 2005

         Gillette Enterprises v. Amboy National Bank
         (Middlesex County Superior Court, NJ) 2004

         United States Dredging v. Murphy, Gallagher et al.
         (Nassau County Supreme Court, NY) 2004

         United States v. Joseph Luparella
         (Criminal Federal Court) 2004

         Cunningham v. Cunningham
         (Mercer County Chancery Court, NJ) 2003

         Thomas Neary v. Boro of Ridgefield Police Department
         (Bergen County Municipal Court, NJ) 2001

         Couri v. Couri
         (Bergen County Chancery Court, NJ) 2001

         Chesed Clothing v. Paul Fedder D/B/A Business Mailing Company
         (Ocean County Superior Court, NJ) 2000
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 31 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   DEPOSITION TESTIMONY
         Andrew Black, Hans Erik Molberg, Celestino Amore and Dr. Henry Balboa individually and on behalf
         of Phoenix Holdco, LP v Phoenix Cayman LTD, Vishal Garg, Raja Visweswaran, Nicholas Calamari
         and Triaxx Holdco, LLC.
         Supreme Court of the State of New York
         County of New York
         Commercial Damages - 2023

         Gary Hardwick v Ripple Collective, LLC; Another Green World Productions, Inc. et al
         Supreme Court of the State of New York
         County of New York
         Business Valuation - 2022

         Vincent H. Martinez Cienfuegos v Sean Aronsen, David McGrath, Glenco Contracting Group, Inc.
         Aro Construction Group, Inc.
         Supreme Court of the State of New York
         County of Westchester
         Business Valuation - 2022

         Intech Powercore Corporation et al v Albert Handtmann Eltecka GMBH & Co. KG
         United States District Court of New Jersey
         Economic Damages 2022

         United States v Shant Hovnanian et al
         United States District Court of New Jersey
         Piercing the Trust Veil for Taxes - 2021

         Catalyst Advisors Investors Global, Inc. v Catalyst Advisor L.P.
         Delaware Superior Court
         Valuation for Members Dissolution - 2021

         Estate of Kentos v Richard D. Schibell, Esq., Schibell & Mennie, LLC,
         Schibell, Mennie & Kentos,
         Monmouth County, NJ
         Valuation for Shareholder Dissolution - 2021

         Timothy Tyson, Keith Lyon and James Scandura v Avara Pharmaceuticals,
         Avara Pharma Services, Ltd. And Leonard Levie
         Arbitration
         Valuation for Shareholder Dissolution - 2019

         US National Bank Association v. 2150 Joshua’s Path et al
         United States District Court
         Eastern District of New York
         Analysis of Trial Demonstratives - 2019
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 32 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   DEPOSITION TESTIMONY - Continued
         Shinnick v STIGroup, Inc., et als
         Bergen County, NJ
         Valuation for Shareholder Dissolution - 2019

         Sergio Magarik, individually and on behalf of Kraus USA, Inc. v.
         Kraus USA, Inc., Michael Rukhlin, and Russel Levi
         Nassau County, NY
         Lost Profits/Commercial Damages, 2017 and 2018

         DR Music, Inc. and DR Handmade Strings, Inc. v. Cenveo Corporation
         Federal Court, District of New Jersey
         Lost Profits/Commercial Damages, 2017

         First Manhattan Consulting Group, LLC v. Novantas, Inc. Andrew Frisbie, Peter Gilchrist and
         Jonathan West
         New York City
         Lost Profits/Commercial Damages, 2017

         Northern Star Management v. Castlepoint National Insurance Company
         New York City
         Lost Profits/Commercial Damages, 2015

         Ocasio v. Rutgers University
         Essex County, NJ
         Lost Wages/Improper Termination, 2014

         American Polymers Corporation v. PolyStar Products, Inc. et al.
         Central Irrigation Supply, Inc. v. PolyStar Products, Inc et al and Consolidated Cases
         Mercer County, NJ
         Commercial Damages, 2013

         McGee v. Kane et al.
         Hudson County, New Jersey
         Lost Profits, Commercial Damages, 2013

         Paramount Homes at Asbury Park v. Tishman Construction Corp of New Jersey et al.
         Monmouth County, New Jersey
         Lost Profits, Commercial Damages, 2013

         Public Service Electric And Gas Company v. Colonnelli Brothers, Inc. et al.
         Union County, New Jersey
         Commercial Damages, 2013
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 33 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   DEPOSITION TESTIMONY - Continued
         Daelim Trading Co v. Giagni Enterprises et al.
         United States District Court
         Southern District of New York
         Commercial Damages, 2013

         Frank Leonard v. Claus Joens et al.
         Essex County, NJ,
         Shareholder Buyout, 2013

         Miller v. South Amboy Board of Education
         Middlesex County, NJ
         Wrongful Termination, 2011

         Ravin, Sarasohn, Cook, Baumgarten, Fisch and Rosen, P.C. v. Lowenstein Sandler, P.C.
         Morris County, NJ
         Lost Profits, Damages, 2009

         Donald J. Pliner of Florida v. Carl R. Danziger, Operations Management Service
         United States District Court
         Southern District of New York
         Breach of Fiduciary Duty, CPA Malpractice, 2008

         Conoco Phillips v. Alstom Power, Inc.
         Union County, NJ
         Lost Profits/Commercial Damages, 2008

         Entology v. Storch, Jolley, Amell
         Morris County, New Jersey
         Lost Profits, Breach of Contract, Business Valuation, 2007

         Golden v. Golden
         Monmouth County, New Jersey
         Dispute of Payments, Business Ownership, 2005

         Mazza v. NRI Data, Inc.
         Mercer County, NJ
         Lost Profits, Breach of Contract, Business Valuation, 2004

         Bel Fuse, Inc. v. Lucent Technologies, Inc.
         Middlesex County, New Jersey
         Lost Profits, Breach of Contract, Business Valuation
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 34 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   DEPOSITION TESTIMONY - Continued
         Gillette Enterprises et al v. Amboy National Bank, et al.
         Middlesex County, New Jersey
         Valuation of Payment Streams, 2004

         Dr. Herbert R. Axelrod and Evelyn Axelrod v. Central Garden & Pet Company, Inc.
         Monmouth County, New Jersey
         Lost Profits, Breach of Contract, Business Valuation, 2003

   PRESENTATIONS
   Webinars –
        The Knowledge Group
              “Practical E discovery Advice for lawyers” – December 2015
        WithumSmith+Brown
              “Valuation Issues in Startup Companies” - September 2014
        Meeker Sharkey
              “Disaster Recovery” - February 2012
        Accounting Today Institute
              “Business Valuation Series FASB 157” – December 2010, May 2011

   Live Presentations-
          Newmark Title Services
                CLE Series
                “Avoiding Loan Workout Mistakes” – Panelist, June 2021
                “Carbon Emissions, C-PACE, Green Financing” Panelist, July 2021

         Eastern Monmouth Chamber of Commerce
                “Tax and Financial Ideas for the end of 2020” November 2020

         Friedman - Continuing Legal Education Programs
               “The New Tax Code and Its Impact on The Matrimonial Practice” - 2018

         American Academy of Matrimonial Lawyers – New Jersey Chapter
               “Navigating COVID Disruptions” – July 2021

         New Jersey Society of Certified Public Accountants – State Organization
               “Cost of Capital” December 2015
               “Ibbotson v. Duff & Phelps” - December 2009
               “When Clients Divorce” - October 2009
               “Employees – Your Most Important Asset –
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 35 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


                       How to Ensure that they are NOT a Liability” - September 2008
                “Myths, Misconceptions, and the realities of the Financial Aspects
                       of Divorce in New Jersey”, multiple presentations - 2007, 2008
                “Discussion of SSVS #1” - June 2008
                “Valuation Tips for Intangibles and Goodwill for Controllers” - September 2007
                “Standards of Value”- December 2005

         New Jersey Certified Public Accounting Society – Monmouth/Ocean Chapter
               “Tips on Recognizing Workplace Fraud” - November 2011
               “Helping Clients with Family Owned Business Navigate
                      Intergenerational Transfers” - December 2010
                “Round Table Discussion Ibbotson v Duff & Phelps” - November 2009

         Jersey Society of Certified Public Accountants– Mercer Chapter
                “When Clients Divorce” - November 2010

         WithumSmith+Brown– Continuing Legal Education Programs
               “Quantifying Damages” - multiple presentations 2010 to 2014
               ‘Reading and Understanding Financial Statements” - multiple presentations 2010 to 2014
               “When Clients Divorce-Basic Economics” - December 2010
               “Managing Cash Flow in a Professional Practice” - December 2010, March 2012
               “Business Valuation Basics” - multiple presentations 2010 to 2012
               “Preventing and Detecting Fraud in Not for Profits” - November 2011

         WithumSmith+Brown – In House Presentations
               “The New IRA Distribution Rules” - December 2001
               “Engagement Management” - multiple presentations 2007 to 2013
               “Know Your Strength – Supercharge your Marketing Success” - July 2009

         WithumSmith+Brown – Annual Partners’ Network
               “Forensic Investigation – An Introduction, Also Known As
                      Is Someone Stealing From Me?” - June, 2008
               “Employees – Your Most Important Asset - How to ensure
                      they are NOT a liability” - November, 2008

         Houston Family Law Conference– Houston Law School
               “Business Valuation for a Family Lawyer” May 2012, May 2014

         Association of Government Accountants – North Carolina Chapter –
                “Enabling a Fraudster” - April 2013
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 36 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   PRESENTATIONS - Continued
   Live Presentations- (continued)
          New Jersey Institute of Continuing Legal Education –
                “Tax Aspects in Business Sales” - July 2013

          New Jersey Healthcare Financial Management Association –
                “Valuing a Medical Practice” - July 2014
          New Jersey State Bar Association
                “Round Table – Hot Tips for Litigators” May 2021
                “You Thought Cash Was Hard – Try Cyber Currency” March 2019
                “Use of Forensic Accountants in Civil Litigation –Panel Discussion” – May 2016
                “Hot Tips for Hot Litigators –Panel Discussion” – October 2016
                “Valuation of Assets/Tax Implications of Alimony Buyouts” - March 2012

          State of Pennsylvania– Audit Training
                  “Enabling a Fraudster” - April 2012

          Association of Government Accountants
                 “Tips Tipoff and Other Ideas to Recognize Workplace Fraud” - April 2012

          Healthcare Management Association NY
                 “The Legal Aspects of Revenue Cycle Audits” - November 2011

          Philadelphia Chapter Certified Fraud Examiners
                 “Enabling a Fraudster” - February 2012

          National Association of Certified Valuation Analysts
                 “Current Trends in Business Valuation” - December 2008
                 “Commercial Damages” - July 2006

          William Patterson College – Accounting Society
                 “Forensic Investigation – for College Students” - November 2008
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 37 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   PRESENTATIONS - Continued
   Live Presentations- (continued)
          Raymond James Financial Services
                “Financial Fraud – at Home, in the Workplace
                        and the Financial Markets” - September 2009

          American Payroll Association – Jersey Shore Chapter
                “Developing and Testing Internal Controls for
                       Payroll Professionals”- August 2008

          National Association of Trial Executives
                 “Fraud Prevention, Identity Theft & the Accountable CEO” - July 2011

          DFK International -
                “Mergers and Acquisitions – So Many Smart People Structured this –
                So Why Are They Fighting Now?” – May 2017

          Central New Jersey Estate and Financial Planning Council
                 “Valuation Discounts” - December 2006

          National Shooting Sports Symposium
                 “How to Write a Business Plan” - June 2000

          Inn of Transactional Attorneys – Bergen Chapter
                  “How a CPA Can Help a Client Sell Their Business” – October 2016
Case 0:21-cv-60125-RNS Document 198-7 Entered on FLSD Docket 08/08/2023 Page 38 of
    RANDALL M. PAULIKENS              38
    CPA/ABV/CFF/CITP


   PUBLICATIONS
     Law 360- “When Should You Rely on Your Company Counsel and When Should You Rely on Your
       Own” Fall 2016
     Commerce Magazine- “Forensic Accounting Roundtable” September 2014
     Commerce Magazine- “Forensic Accounting Roundtable” August 2012
     New Jersey Society of CPAs Magazine– “The New Economics of Divorce” Jan/Feb 2012
     New Jersey Society of CPAs Magazine– “Helping Your Client Measure the Costs of Eminent Domain”
       July/August 2011
     New Jersey Society of CPAs Magazine– “Practical Considerations for Handling Shareholder and LLC
       Member Disputes” March/April 2011
     Whitepaper - “Having Your Cake and Eating It Too”, May 2008
     Whitepaper – “Managing Cash Flow in a Professional Practice During Economic Downtimes”, May 2008
     The Journal - “Alternate Methods for Dispute Resolution” Fall 2007
     New Jersey Society of CPAs (Website)– “Saving on Auto Insurance Properly” March 2007
     The Journal – “A Hasty Agreement Can Lead to Litigation”, Fall 2006
     The Journal – “What is Your Business Worth?”, Fall 2004
     The Journal – “Welcome to the Fascinating World of Forensic Accounting”, Winter 1999
     New Jersey Lawyer – “Lawyers, CPAS Team to Combat Workplace Fraud”, July 2004
     Proceedings – “Developing a Business Plan” June 2000
     The Range Reporter – “On Target With Your Taxes”, Winter 2000
     The Range Reporter - “The Tax Man Cometh”, January/February 1999
